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                       UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF PENNSYLVANIA


In re                                         :   Chapter   7

                                              :
Bart Levy
                                              :

                     Debtor                   :   Bankruptcy No. 22-11053MDC


                                          ORDER


               AND NOW, it is ORDERED that since the debtor(s) have failed to
timely file the documents required by the order dated April 26, 2022 and May 10, 2022, this
case is hereby DISMISSED.




     June 8, 2022



                                                   Magdeline D Coleman
                                                   Chief U.S. Bankruptcy Judge



Missing Documents:
                              Attorney Disclosure Statement
                              Schedules A/B-J
                              Statement of Financial Affairs
                              Summary Assets & Liabilities B106
                              Ch 7 Income Form 122A-1
                              Means Test Calculation 122A-2, if applicable



bfmisdoc
